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UEFUYH’CLERH

 

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, NORTHERN DIVISION

 

UNITED sTATEs OF AMERICA, = := 02 cR 0001 s
Plaintiff, = s U P E R C E D I N s
- : N D l C T M E N T
Vs.
. vIO. 13 U.S.C. §
JEFFREY D. TEMPLETON, = 922(9)(3),
COLLETT TEMPLETON, = POSSESSION OF A
: FIREARM BY AN
Defendants. UNLAWFUL USER OF OR

PERSON ADDICTED TO
A CONTROLLED
SUBSTANCE ; 18
U.S.C. § 2, AIDING
AND ABETTING

 

The Grand Jury Charges:

COUNT 1
(18 U.s.C. § 922(§){3))

On cr about December 11, 2001, in the Northern Division
Of the District cf Utah,

JEFFREY D. TEMPLETON
and COLLETTE TEMPLETON,

the defendants herein, being unlawful users Of Or addicted to

 

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a ccntrclled substance as defined in 21 U.S.C. § 802, did
knowingly possess in and affecting interstate ccmmerce,
firearms and ammuniticn, namely the fcllcwing:
“Vi§
Mcssberg Mcdel 500E, .41Cgauge shotgun, SN L750960
Wincbester Model 62A, .22 caliber rifle, SN 118921
Wincbester Mcdel 62A, .22 caliber rifle, SN 303194
Mcssberg Mcdel 835, .12 gauge sbctgun, SN UM327877
Winchester Model 70, 30-06 rifle, SN 398489
Winchester Mcdel 12, .12 gauge rifle SN 1412178

Benelli, S. PA., Model MB Super 90, .12 gauge shetgun,
SN MlOZlSl

Mcssberg Mcdel EOOET, .410 caliber, SN G6984ll

Eastern Arms, CO. Mcdel ATIS-PNZ, .12 gauge shotgun,
SN 134547

Ruger Mcdel 10-22, .22 caliber rifle, SN 233-30375
Brcwning Mcdel EAR II, .300 caliber rifle, SN 107NW03420
Mossberg Mcdel 500 A, .l2 gauge shotgun, SN K495006

Springfield Armcry Model Ml Gerrand, .30 caliber,
SN 2009137

Benelli, S.PA. Mcdel Ml Super 90, .12 gauge shotgun,
SN M205734

Mossberg Model 500 E, .410 caliber shotgun, SN L999963
Winchester Mcdel 70, 30-06, SN 302888

Heckler and Koch Mcdel 91, .308 caliber rifle,
SN Oll459

Winchester Mcdel 61, .22 caliber rifle, SN 231811

 

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Remingtcn Arms Cc. Mcdel 582, .22 caliber, SN 1200601
COlt MOdel SP-l, .223 caliber, SN SP159708

Cclt Mcdel SP-l, .223 caliber rifle, SN BD000352

Cclt Mcdel SP-l, .223 caliber, SN SL019936

Cclt Mcdel SP-l, .223 caliber rifle, SN MH013238
Brcwning Mcdel Unknown, .22 caliber rifle, SN 01430PZZ46
Winchester Mcdel Centinenial 66, 30-30, SN 76303
Winchester Mcdel 94 AE, .44 caliber rifler SN 6273779
Winchester Mcdel 94, 30-30 rifle, SN 2346956

Benelli, S. PA. Model Ml Super 90, 12 gauge sbctgun,
SN Ml48115

Unknown Manufacturer Model FMAP “DM” Rosaric, .762
caliber rifle, SN 02423

Brcwning Mcdel A-Bclt, .338 caliber rifle, SN 497279YLS7
Winchester Mcdel 70, .220 caliber, SN 306690

Winchester Mcdel 50, .12 gauge shotgun, SN 142353
Mossberg Mcdel l42-A, .22 caliber rifle, SN N/A
Winchester Mcdel 63, .22 Caliber rifle, SN 43804A

Barrett Firearms Mfg. Co. Mcdel 95, .50 Caliber rifle,
SN 565

Unkncwn Manufacturer Unknown Mcdel, .50 caliber rifle,
SN NONE

Unknown Manufacturer Mcdel 96, .50 caliber rifle, SN 115
Cclt chernment Mcdel, .45 caliber, SN SS31206
Cclt Mcdel Officers ACP, .45 caliber, SN SF04295E

Para~Ordnance Mfg. Inc. Model P13-45, .45 caliber,
SN QG1788

 

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Heckler and chh Mcdel PQS, .45 caliber, SN 403101
COlt Model Cbalenger, .22 caliber, SN 66703~C
Ruger Model MK ll, .22 Calibcr, SN 219-68040

SIG Sauer, Arms,(Swiss Industriel Gesellshaft)
Mcdel P220, .45 caliber, SN G170322

Colt Mcdel Viper, .38 caliber, SN 95062M
Heckler and chh MOdel PBS, .45 caliber, SN 404457

Freedom Arms CO. Mcdel Field Grade, .454 caliber,
SN DF?OQl

SIG (Sauer, Arms, cr Swiss Industriel Gesellshaft)
Mcdel 9229, .357 caliber, SN AD29066

Smith & Wesscn Mcdel 65-5, Lady Smith, .357 caliber,
SN BSK3328

Smith & Wesscn Mcdel 642, .38 caliber, SN BMA1215
Smith & Wesscn Model 19-5, .357 caliber, SN ADS 3083
Brcwning Mcdel N/A, .22 caliber, SN 36079P70

Heckler and Koch Model P9S, .45 caliber, SN 405701

Freedom Arms CO. Model Belt Buckle 22, .22 caliber,
SN A42112

Ruger Mcdel Blackhawk, .357 caliber, SN 33-24831
Unkncwn Manufacturer Mcdel 1873, .22 caliber, SN SA18304
Walther MOdel PPK/S, .380 caliber, SN 3065689

Cclt Mcdel Frontier Scout, .22 caliber, SN 645GS

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and thousands of rounds of ammunition, and did aid and abet

therein; all in violation of 18 U.S.C. § 922(g)(3) and § 2.

A TRUE BILL:

FOREPERSON OF GRAND JURY

PAUL M. WARNER
UNITED STATES ATTORNEY

W?//¢/

my BRETT L. TOLMAN
Assistant United States Attorney

